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       4
           Attorneys for Defendants, DARRICK ANGELONE, AONE CREATIVE, LLC
       5 and ON CHAIN INNOVATIONS, LLC

       6
                                UNITED STATES DISTRICT COURT
       7
                              CENTRAL DISTRICT OF CALIFORNIA
       8

       9
           HIDDEN EMPIRE HOLDINGS, LLC;                 Case No. 2:22-cv-06515-MWF-AGR
      10 a Delaware limited lability company;           Action Filed: September 12, 2022
           HYPER ENGINE, LLC; a California
      11 limited liability company; DEON                DEFENDANTS’ EX PARTE
           TAYLOR, an individual,                       APPLICATION FOR (1) AN ORDER
      12
                          Plaintiffs,                   ALLOWING DESIGNATION OF AN
      13           v.                                   ALTERNATE REBUTTAL EXPERT,
      14 DARRICK ANGELONE, an                           AND (2) AN ORDER PERMITTING
           individual; AONE CREATIVE, LLC               LATE FILING OF DEFENDANTS’
      15 formerly known as AONE                         EXPERT RICK WATTS’ REBUTTAL
           ENTERTAINMENT LLC, a Florida                 REPORT; DECLARATIONS OF
      16 limited liability company; ON CHAIN
           INNOVATIONS, LLC, a Florida                  COUNSEL
      17 limited liability company,
                                                        [Submitted concurrently with
      18                 Defendants.                    [PROPOSED] Order]
      19
                                                        Jury Trial: December 10, 2024
      20

      21
                 COMES NOW, Defendants DARRICK ANGELONE, AONE CREATIVE,
      22
           LLC and ON CHAIN INNOVATIONS, LLC (“Defendants”), by and through their
      23
           attorneys of record, and submit this Ex Parte Application For (1) An Order Allowing
      24
           Designation Of An Alternate Rebuttal Expert, and (2) An Order Permitting Late Filing
      25
           Of Defendants’ Expert Rick Watts’ Rebuttal Report.
      26

      27 \\\
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       1               MEMORANDUM OF POINTS AND AUTHORITIES
       2 I.     INTRODUCTION AND SUMMARY OF ARGUMENT
       3        Defendants DARRICK ANGELONE, AONE CREATIVE, LLC and ON
       4 CHAIN INNOVATIONS, LLC (“Defendants”) bring this Ex Parte Application (“Ex

       5 Parte”) for (1) An Order Allowing Designation Of An Alternate Rebuttal Expert, and

       6 (2) An Order Permitting Late Filing Of Defendants’ Expert Rick Watts’ Rebuttal

       7 Report. This Ex Parte follows attempts by Defendants to secure a stipulation for the
       8 same from counsel for Plaintiffs HIDDEN EMPIRE HOLDINGS, LLC, HYPER

       9 ENGINE, LLC, and DEON TAYLOR (“Plaintiffs”).
      10        Defendants seek the Court’s intervention with respect to the expert disclosure
      11 and filing requirements of Federal Rule of Civil Procedure 26(a)(2). Specifically,

      12 Defendants seek to designate Rick Watts of Quandary Peak Research (“QPR”) as an

      13 alternate expert on rebuttal, because their initially designated expert (who would have
      14 been designated as Defendants’ rebuttal expert), George Edwards of QPR, is no
      15 longer available to testify. Further, Defendants seek an order permitting the one day

      16 late filing of Mr. Watts’ rebuttal report, which has resulted in no prejudice to
      17 Plaintiffs. Several reasons support this Ex Parte Application and the need for

      18 immediate and emergency relief, which are set forth below.
      19        As an initial matter, Defendants submit that the disclosure of Rick Watts as a
      20 rebuttal expert was proper and timely despite any contrary objection from Plaintiffs.

      21 Specifically, Federal Rule of Civil Procedure 26(a)(2)(D)(ii) provides that, in the time
      22 and sequence set by court order or stipulation, a party must disclose expert testimony

      23 “intended solely to contradict or rebut evidence on the same subject matter identified

      24 by another party under Rule 26(a)(2)(B) or (C)”. Here, per the agreement of Parties’
      25 counsels on February 20, 2024, Defendants were granted an extension through

      26 February 26, 2024 to disclose their expert rebuttal witness and rebuttal report. On

      27 February 22, 2024, defense counsel disclosed that Defendants would be using Mr.
      28 Watts as a rebuttal expert instead of Mr. Edwards, and sent Plaintiffs’ counsel a copy

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       1 of Mr. Watts’ CV. Accordingly, Defendants did properly disclose their rebuttal expert
       2 per Federal Rule of Civil Procedure 26(a)(2)(D)(ii).

       3        In any event, there will be zero prejudice to Plaintiffs if Rick Watts is
       4 designated as an alternative to George Edwards as a rebuttal expert for Defendants.

       5 On January 22, 2024, Defendants timely served their Initial Expert Witness

       6 Disclosure pursuant to Federal Rule of Civil Procedure 26(a)(2), designating George

       7 Edwards of QPR as an expert. Due to circumstances unforeseen to Defendants, QPR
       8 thereafter advised Defendants that George Edwards was not available to serve as an

       9 expert on this matter, as he was not in a position to accept engagement as an expert.
      10 Specifically, it is Defendants’ understanding that Mr. Edwards is engaged in
      11 numerous commitments at the present time and has several upcoming trials, and thus

      12 not available to provide expert testimony in this matter. As an alternative, QPR

      13 assigned Rick Watts as experts who was able to accept engagement on this matter.
      14 Accordingly, Defendants seek the Court’s permission to list Rick Watts as an alternate
      15 rebuttal expert for Defendants. It is difficult to imagine any prejudice to Plaintiffs due

      16 to this alternative designation. Mr. Watts is an expert from QPR, the same firm as
      17 Defendants’ initially designated expert George Edwards. Mr. Watts is effectively

      18 standing in the shoes of Mr. Edwards, as they are faced with the same exact tasks on
      19 rebuttal. It should make no difference as far as Plaintiffs are concerned. Defendants
      20 are certainly not “expert-shopping”, especially considering Mr. Edwards has not even

      21 provided any opinion in this matter. Further, there is also no risk of prejudice or undue
      22 delay by the Court allowing this alternate designation and for the one day late filing

      23 of Mr. Watts’ report on February 27, 2024. (Dkt. No. 123.) The Jury Trial in this

      24 matter is now set for December 10, 2024. (Dkt. No. 116.) Trial is almost nine months
      25 away, so Plaintiffs will have more than ample time to depose Mr. Watts and prepare

      26 any defense. This is further underscored by the fact that Plaintiffs were made known

      27 of Mr. Watts’ CV and anticipated rebuttal testimony on February 22, 2024, and further
      28 had access to his near-final draft report on February 26, 2024. In contrast, there is

                                                      3
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       1 great prejudice to Defendants by Plaintiffs’ refusal to grant Defendants an ample
       2 extension, as set forth herein.

       3        Further, several reasons support why emergency relief is appropriate under the
       4 circumstances. Here, Defendants have been unable to secure a stipulation from

       5 Plaintiffs allowing Mr. Watts as an alternative designation to George Edwards of QPR

       6 as a rebuttal witness. Further, Plaintiff has not agreed to provide Defendants with

       7 ample time to provide a complete expert rebuttal report. This is all despite Defendants
       8 agreeing to numerous discovery extensions and extensions of pre-trial disclosure

       9 deadlines when asked for the same by Plaintiffs’ counsel. While Plaintiffs granted
      10 Defendants an additional six days through February 26, 2024 to provide a rebuttal
      11 report, this simply did not provide ample time for Mr. Watts to provide a complete

      12 rebuttal report. Mr. Watts only required one more day to submit his report. This is

      13 evidenced by the fact that a near-final draft report was submitted on February 26,
      14 2024 in support of Defendants’ opposition to Plaintiffs’ “Motion for Order to Show
      15 Cause Why Sanctions Should Not Be Imposed Against Defendants for (1) Violating

      16 the Preliminary Injunction [Contempt] and (2) Spoilation of Evidence” (“Terminating
      17 Sanctions Motion”). Further, the sheer length of the Terminating Sanctions Motion

      18 and the reports prepared by Plaintiff’s experts necessitated the one additional day for
      19 Mr. Watts to prepare a rebuttal. Defendants respectfully request the Court’s
      20 indulgence to permit the one-day late filing of Mr. Watts’ final rebuttal report, to

      21 allow for all pertinent information to be before the Court for a full determination of
      22 the merits of the Terminating Sanctions Motion.

      23        Important to note is that Defendants have acquiesced to Plaintiffs’ numerous
      24 requests for additional time to prepare discovery responses. (See Decl. of Sandra
      25 Calin, ¶ 6.) Even as recently as February 16, 2024, Defendants granted Plaintiffs

      26 another three-week extension to provide responses to discovery originally

      27 propounded by Defendants on December 19, 2023. Yet, Plaintiffs have not entirely
      28 reciprocated with respect to Defendants’ requests for extensions, specifically with

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       1 respect to the alternate designation of Mr. Watts. Plaintiffs even refused Defendants’
       2 counsel’s request to continue the hearing on Plaintiffs’ Terminating Sanctions

       3 Motion, forcing Defendants to have to file an Ex Parte on February 8, 2024 (Dkt no.

       4 114.) Yet again, Defendants are left with no other option but to seek an order from

       5 this Court pursuant to Rule 26(a)(2)(B) permitting the designation of Rick Watts and

       6 allowing for the one day late filing of Mr. Watts’ rebuttal report.

       7         In light of the foregoing, Defendants will suffer irreparable harm if the Court
       8 does not allow the alternate designation of Rick Watts, and for Mr. Watts to provide

       9 a one day late final report. Therefore, Defendants respectfully request (1) An Order
      10 Allowing Designation Of An Alternate Rebuttal Expert, and (2) An Order Permitting
      11 Late Filing Of Defendants’ Expert Rick Watts’ Rebuttal Report.

      12
           II.   THIS COURT HAS THE AUTHORITY TO GRANT THIS EX PARTE
      13
                 Rule 6(b)(1) of the Federal Rules of Civil Procedure, provides:
      14
                        (1) In General. When an act may or must be done within a
      15                specified time, the court may, for good cause, extend the
                        time:
      16                       (A) with or without motion or notice if the court acts,
                               or if a request is made, before the original time or its
      17                       extension expires;
      18
                 Good Cause is typically defined as “the movant’s diligence in attempting to
      19
           meet the deadlines” or if the opposing party is in part responsible for the delay. See
      20
           Albright as Next Friend of Doe v. Mountain Home School District, 926 F.3d 942, 951.
      21
           Unless the party seeking relief has acted in bad faith, or the request would cause
      22
           prejudice to the other parties, the courts regularly hold that a request for an extension
      23
           made before the deadline normally should be granted. See Miller v. Chicago Transit
      24
           Authority, 20 F.4th 1148, 1153-54, 111 Fed. R. Serv. 3d 909 (7th Cir. 2021) (“had
      25
           counsel timely advised the district court of health issues and sought to provide
      26
           relevant information in a confidential manner, the court would have seriously
      27
           considered his situation.”); Alexander v. Saul, 5 F.4th 139, 154, 110 Fed. R. Serv. 3d
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       1 4 (2d Cir. 2021), cert. denied, 142 S. Ct. 1461, 212 L. Ed. 2d 548 (2022) (“[A]n
       2 application for extension of time under Rule 6(b)(1)(A) normally will be granted in

       3 the absence of bad faith on the part of the party seeking relief or prejudice to the

       4 adverse party,” (quoting 4B Charles Alan Wright & Arthur R. Miller, Federal Practice

       5 & Procedure § 1165 (4th ed. 2021 update); see also Staggers v. Otto Gerdau Co., 359

       6 F.2d 292, 296 (2d Cir. 1966) (noting that when Federal Rule of Civil Procedure 6(b)

       7 was amended to provide district courts with greater “flexibility,” it was “assumed that
       8 discretionary extensions would be liberally granted”)); see also Stark-Romero v.

       9 National R.R. Passenger Co., 275 F.R.D. 544, 547, 80 Fed. R. Serv. 3d 309 (D.N.M.
      10 2011) (“Showing good cause [under Rule 6(a)(1)(A)] is not a particularly demanding
      11 requirement.”).

      12         Here, as explained above and in the accompanying Declaration of Sandra Calin,
      13 and Declaration of JT Fox, due to Plaintiffs’ refusals to enter a stipulation, Defendants
      14 require the Court’s intervention with respect to designating an alternative expert from
      15 the same firm initially designated by Defendants, and to permit the late filing of Mr.

      16 Watts’ complete report, as set forth above.
      17
                 There is no prejudice to Plaintiffs. Rick Watts is from the same firm as
      18
           Defendants’ initial expert George Edwards, and will offer the same exact rebuttal
      19
           testimony. Indeed, Plaintiffs were made known of Mr. Watts’ CV and anticipated
      20
           rebuttal testimony on February 22, 2024, and further had access to his near-final draft
      21
           report on February 26, 2024. In part due to Plaintiffs’ failure to accommodate
      22
           Defendants’ stipulation requests, Mr. Watts needed just one additional day to submit
      23
           his final rebuttal report in order to fully address the opinions of Plaintiff’s expert, and
      24
           allow Defendants to prepare a complete defense against Plaintiffs’ Terminating
      25
           Sanctions Motion and Complaint in this matter. The final rebuttal report was
      26
           submitted to the Court as soon as possible following its receipt. Plaintiffs cannot
      27
           reasonably argue that they were prejudiced by this one-day late filing. Defendants
      28

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       1 respectfully request the Court’s indulgence in permitting Defendants to submit Mr.
       2 Watts’ final report a day late, to allow for all pertinent information to be before the

       3 Court for a full determination of the merits of the Terminating Sanctions Motion.

       4          Accordingly, Defendants respectfully request (1) An Order Allowing
       5 Designation Of An Alternate Rebuttal Expert, and (2) An Order Permitting Late Filing

       6 Of Defendants’ Expert Rick Watts’ Rebuttal Report.

       7
           III.   GOOD CAUSE EXISTS TO GRANT THIS EX PARTE APPLICATION
       8
                  Good cause exists to grant this Ex Parte, as Defendants will suffer irreparable
       9
           harm if the Court does not allow the alternative designation of Mr. Watts, and permit
      10
           the one day late filing of Mr. Watts’ final rebuttal expert report. Defendants have been
      11
           unable to secure a stipulation from Plaintiffs allowing an alternative designation to
      12
           George Edwards of QPR. In any event, Plaintiffs were made known of Mr. Watts’
      13
           CV and anticipated rebuttal testimony on February 22, 2024. Further, Plaintiff has not
      14
           provided Defendants with ample time to provide a complete expert rebuttal report.
      15
           While Plaintiffs have granted Defendants an additional six days through February 26,
      16
           2024 to provide a rebuttal report, this simply did not provide ample time for Mr. Watts
      17
           to provide a complete rebuttal report. Mr. Watts simply required one more day to
      18
           submit his report. This is especially true in light of such report’s relevance to opposing
      19
           Plaintiffs’ Terminating Sanctions Motion. The sheer length of the Terminating
      20
           Sanctions Motion and the reports prepared by Plaintiff’s experts necessitated
      21
           additional time for Defendants to prepare a rebuttal.
      22
                  Again, Plaintiffs will not be prejudiced by the above requests. Due to
      23
           circumstances unforeseen to Defendants, QPR advised Defendants that George
      24
           Edwards was not available to serve as an expert on this matter, as he was not in a
      25
           position to accept engagement as an expert. Specifically, it is Defendants’
      26
           understanding that Mr. Edwards is engaged in numerous other commitments at the
      27
           present time and thus not available to provide expert testimony in this matter. As an
      28

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       1 alternative, QPR assigned Rick Watts as an expert who can accept engagement on
       2 this matter. Defendants promptly reached out to Plaintiffs for their agreement that Mr.

       3 Watts be permitted as an alternate expert, but have been unable to procure such

       4 agreement despite advising Plaintiffs’ counsel of the reasons for Mr. Edwards’

       5 unavailability. Accordingly, Defendants seek the Court’s permission to designate

       6 Rick Watts as Defendants’ rebuttal expert.

       7 IV.    PLAINTIFFS HAVE BEEN GIVEN NOTICE OF THIS EX PARTE
       8        APPLICATION
       9        As set forth fully in the attached Declaration of JT Fox, Esq. and Declaration
      10 of Sandra Calin, Esq., and pursuant to Local Rule 7-19.1, on February 22, 2024,
      11 defense counsel indicated that, if Plaintiffs were unwilling to accept an alternative

      12 designation to Defendants’ expert George Edwards, then Defendants would need to

      13 file an ex parte application for an order permitting such alternate designation. On
      14 March 4, 2024, defense counsel forwarded a copy of Defendants’ Ex Parte
      15 Application to Plaintiffs' counsel via e-mail, providing notice that before the

      16 Honorable Judge Michael W. Fitzgerald of the United States District Court, Central
      17 District of California, defense counsel would be applying ex parte for (1) An Order

      18 Allowing Designation Of An Alternate Rebuttal Expert, and (2) An Order Permitting
      19 Late Filing Of Defendants’ Expert Rick Watts’ Rebuttal Report.
      20                                  V. CONCLUSION
      21        Based on the foregoing, Defendants request that the Court grant this Ex Parte
      22 Application and issue (1) An Order Allowing Designation Of An Alternate Rebuttal

      23 Expert, and (2) An Order Permitting Late Filing Of Defendants’ Expert Rick Watts’

      24 Rebuttal Report.
      25 \\\

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       1 DATED: March 4, 2024                     LAW OFFICES OF J.T. FOX &
                                                  ASSOCIATES, A.P.C
       2

       3

       4                                          By:   /s/ J.T. Fox
                                                        J.T. FOX
       5                                                Attorney for Defendants
                                                        DARRICK ANGELONE,
       6                                                AONE CREATIVE, LLC, and
                                                        ON CHAIN INNOVATIONS,
       7                                                LLC
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    1   DECLARATION OF JT FOX IN SUPPORT OF DEFENDANTS’ EX PARTE
    2
                              APPLICATION

    3        I, JT Fox, declare as follows:
    4        1.      I am an attorney at law duly licensed to practice before all courts of the
    5 State of California and am a partner with the Law Offices of JT Fox & Associates,

    6 APC, attorneys of record for Defendants DARRICK ANGELONE, AONE

    7 CREATIVE, LLC and ON CHAIN INNOVATIONS, LLC (“Defendants”) in the
    8 above-captioned case.

    9        2.      I have personal knowledge of the following facts and, if called upon as
   10 a witness, could competently testify thereto, except as to those matters which are
   11 explicitly set forth as based upon my information and belief and, as to such matters, I

   12 am informed and believe that they are true and correct.

   13        3.      On March 4, 2024, I informed Plaintiffs’ counsel that Defendants will
   14 apply ex parte for (1) An Order Allowing Designation Of An Alternate Rebuttal
   15 Expert, and (2) An Order Permitting Defendants’ Expert, Rick Watts, To Submit a

   16 Supplement Rebuttal Report pursuant to Federal Rule Of Civil Procedure 26(a)(2). I
   17 informed Plaintiffs’ counsel that if they intended to file an opposition, notice must be

   18 filed as soon as practicable and within 24 hours of the filing of the ex parte
   19 application.
   20        4.      Rick Watts from Quandary Peak Research (“QPR”) is an IT expert and
   21 was retained to rebut Plaintiff’s expert reports in support of their claims that
   22 Defendants have engaged in violation of this Court’s injunction order and spoilation

   23 of evidence, and further to oppose Plaintiffs’ Terminating Sanctions Motion. On

   24 January 22, 2024, Defendants timely served their Initial Expert Witness Disclosure
   25 pursuant to Federal Rule of Civil Procedure 26(a)(2), designating George Edwards of

   26 QPR as an expert. Due to circumstances unforeseen to Defendants, QPR thereafter

   27 advised Defendants via email that George Edwards was not available to serve as an
   28 expert on this matter, as he was not in a position to accept engagement as an expert.

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    1 Specifically, it is Defendants’ understanding that Mr. Edwards is engaged in multiple
    2 commitments at the present time and has several upcoming trials, and thus not

    3 available to provide expert testimony in this matter.

    4        5.    On February 23, 2024, I reached out to Plaintiffs’ counsel in attempting
    5 to secure a stipulation allowing for the alternative designation of Mr. Watts as a

    6 rebuttal expert. This was a follow up to co-counsel Sandra Calin’s initial email to

    7 Plaintiffs’ counsel dated February 22, 2024, requesting the same. In a response email
    8 sent on February 26, 2024, Plaintiffs’ counsel did not agree to this alternate

    9 designation but instead stated their concern that “Defendants are ‘expert shopping’
   10 and simply wish to use a different expert than the one they designated,” and asked for
   11 further reasoning as to why Mr. Edwards could not presently testify. After seeking

   12 clarification from QPR, I informed Plaintiffs’ counsel on February 26, 2024 that “I

   13 was advised that Mr. Edwards given his existing commitments, was unable to testify
   14 in other matters at this time.” After hearing no response from Plaintiffs’ counsel, I
   15 sent another email on March 1, 2024 which further clarified Defendants’

   16 understanding as to why Mr. Edwards could not testify, and sought to specifically
   17 address Plaintiffs’ concern that Defendants were “expert shopping. A true and correct

   18 copy of the aforementioned email correspondence beginning February 22, 2024 is
   19 attached hereto as Exhibit “A”.
   20        6.    There will be zero prejudice to Plaintiffs if Rick Watts is designated as
   21 an alternative to George Edwards as a rebuttal expert for Defendants. Mr. Watts is an
   22 expert from QPR, the same firm as Defendants’ initially designated expert George

   23 Edwards. Mr. Watts is effectively standing in the shoes of Mr. Edwards, as they are

   24 faced with the same exact tasks on rebuttal. It should make no difference as far as
   25 Plaintiff is concerned. Defendants are not “expert-shopping”. Indeed, Mr. Edwards

   26 has not even provided any opinion in this matter. Further, there is also no risk of

   27 prejudice or undue delay by the Court allowing this alternate designation and for the
   28 one day late filing of Mr. Watts’ report on February 27, 2024. (Dkt. No. 123.) The

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    1 Jury Trial in this matter is now set for December 10, 2024. (Dkt. No. 116.) Trial is

    2 almost nine months away, so Plaintiffs will have more than ample time to depose Mr.

    3 Watts and prepare any defense. This is further underscored by the fact that Plaintiffs
    4 were made known of Mr. Watts’ CV and anticipated rebuttal testimony on February

    5 22, 2024, and further had access to his near-final draft report on February 26, 2024.

    6 In contrast, there is great prejudice to Defendants by Plaintiffs’ refusal to grant

    7 Defendants an ample extension, as set forth herein.
    8        I certify under penalty of perjury that the foregoing is true and correct.
    9        Executed this 4th day of March, 2024, at Pasadena, California.
   10
   11
   12                                         ________________________________
   13
                                              JT FOX, Declarant

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                          Exhibit A
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                                 #:5461




Lawrence,

After additional thought, and in the spirit of the meet and confer process to resolve this issue
informally and to avoid court intervention, here are answers to your speciﬁc questions.

      We understand that you are now saying Mr. Edwards decided he does not want to serve as
      Defendants’ expert any longer because of other “existing commitments.” Are the “existing
      commitments” you are referring to the other cases he is involved in as an expert
      witness/consultant?
       The existing commitments are other cases he is currently working on that require more of his
       time, so he is no longer able to work on our case.

      Is it your understanding that Mr. Edwards will be providing expert/consultant services on other
      matters, such as the ones I listed in my February 26th email to you? Or is he withdrawing as an
      expert from the other matters?
        It is our understanding that he is currently providing expert/consultant services on other matters
        and was unable to take on new matters.

      What is your understanding of whether Mr. Edwards will be taking on any other new matters and
      an expert/consultant?
       Our understanding is that he is not taking on any new matters currently.

          I hope this clears up any confusion. We are available for a conference call if you want to further
          discuss this issue.

          Again, as a professional courtesy, we are requesting that you accept Sandy's request.

          Have a nice weekend if I do not hear back from you today.

          Sincerely,

          JT

From: Lawrence Hinkle <lhinkle@sandersroberts.com>
Sent: Friday, March 1, 2024 9:08 AM
To: Jt Fox <jt@jtfoxlaw.com>
Cc: Justin Kian <justin@jtfoxlaw.com>; Sandy Calin <scalin@kdeklaw.com>; Stephanie Jones Nojima
<sjonesnojima@sandersroberts.com>
Subject: RE: Hidden Empire Holdings v. Angelone (Follow-up Request)

Hi JT –

This has been an extraordinarily busy week, so I am just catching up on emails.

I just want to be 100% clear on the circumstances surrounding Defendants’ request that Plaintiffs
stipulate to their desire to switch experts from Mr. Edwards to Mr. Watts, as my clients are asking for
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                                 #:5462




Lawrence,




From: Lawrence Hinkle <lhinkle@sandersroberts.com>
Sent: Monday, February 26, 2024 1:14 PM
To: Jt Fox <jt@jtfoxlaw.com>
Cc: Justin Kian <justin@jtfoxlaw.com>; Sandy Calin <scalin@kdeklaw.com>; Stephanie Jones Nojima
<sjonesnojima@sandersroberts.com>
Subject: RE: Hidden Empire Holdings v. Angelone

Hi JT –

We are concerned that Defendants are “expert shopping” and simply wish to use a different expert than
the one they designated. Your co-counsel stated that your designated expert George Edwards “will not
be available to testify in this case.” However, you seemingly gave a different reason stating that Mr.
Edwards took an executive position with Quandary Peak and can no longer offer expert testimony.” The
inconsistency in the reasons given only reenforces our concern.

Also, your representation that Mr. Edwards can no longer offer expert testimony appears to be in conﬂict
with the fact that he claims to presently be an expert in several other matters including:

      Electronic Devices Including Smartphones, Computers, Tablet Computers, and Components
      Thereof | DEC 2023–PRESENT
      Jurisdiction: International Trade Commission (ITC)
      Counsel: Alston & Bird LLP
      Nature of Matter: Patent
      Security First Innovations, LLC vs Google LLC | SEPT 2023–PRESENT
      Jurisdiction: US District Court Eastern District of Virginia Alexandria Division
      Case Number: 2-23-cv-00097-EWH-RJK
      Nature of Suit: Patent
      Counsel: Sullivan & Cromwell LLP
      Smart Mobile Technologies, LLC v.
      Samsung Electronics Co. Ltd. | OCT 2023–PRESENT
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                                 #:5463
      Jurisdiction: Western District of Texas
      Case Number: 6:21-cv-00701
      Counsel: Graves & Shaw LLP
      Nature of Suit: Patent
      AGI Suretrack, LLC v. Farmers Edge Inc | SEPT 2023–PRESENT
      Jurisdiction: U.S. District Court for the District of Nebraska
      Case Number: 8:22-cv-00275-JFB-SMB
      Counsel: Irell & Manella LLP
      Nature of Suit: Patent
      Club Speed, LLC v. K1 Speed, Inc | JULY 2023–PRESENT
      Jurisdiction: Superior Court of California
      Case Number: 30-2022-01241507-CU-BC-CJC
      Counsel: Rutan & Tucker, LLP
      Nature of Suit: Breach of Contract
      University of Victoria v. FreshWorks Studio Inc | JULY 2023–PRESENT
      Jurisdiction: BC Supreme Court
      Case Number: S-226081
      Counsel: Smart & Biggar LLP
      Nature of Suit: Patent

Can you please reconcile your statement that Mr. Edwards “can no longer offer expert testimony” with
the foregoing issues we’ve identiﬁed?

Also, we have routinely granted professional courtesies to Defendants, but this is a different issue that
does impact Plaintiffs. We are not trying to be difﬁcult; rather, this issue merely requires additional
information before we can give you a ﬁnal response to your request.

Thank you for your anticipated cooperation.

Sincerely,




From: Jt Fox <jt@jtfoxlaw.com>
Sent: Friday, February 23, 2024 5:25 PM
To: Lawrence Hinkle <lhinkle@sandersroberts.com>
Cc: Justin Kian <justin@jtfoxlaw.com>; Sandy Calin <scalin@kdeklaw.com>; Stephanie Jones Nojima
<sjonesnojima@sandersroberts.com>
Subject: Re: Hidden Empire Holdings v. Angelone

Lawrence,

I hope you have been well.

Sandy asked me to respond to your last email, since she is currently tied up.

It would be inconceivable for your clients to not agree to Sandy's previous request. Mr. Edwards
and Mr. Watts are both from Quandary Peak. Mr. Edwards was originally designated as an expert
from Quandary Peak. It is our understanding that Mr. Edwards took an executive position with
Quandary Peak and can no longer offer expert testimony. Mr. Watts was designated by Quandary
Peak to replace Mr. Edwards. Their tasks were/are the same.
Case 2:22-cv-06515-MWF-AGR Document 125 Filed 03/04/24 Page 17 of 27 Page ID
                                 #:5464
It is my understanding that Sandy recently provided your clients with an additional discovery
response extension as a professional courtesy. Since there is absolutely no prejudice to your client,
I would assume that professional courtesies would be fairly exchanged.

In regard to the need to bring this issue to the Court's attention immediately, Mr. Watts' report is
needed to timely rebut your clients' expert's report. It is also necessary to assist Defendants in their
opposition to your clients' motion for terminating sanctions.

Please let Sandy know your clients' response as soon as possible.

Sincerely,

JT




From: Lawrence Hinkle <lhinkle@sandersroberts.com>
Sent: Friday, February 23, 2024 3:12 PM
To: 'Sandy Calin' <scalin@kdeklaw.com>
Cc: Jt Fox <jt@jtfoxlaw.com>; Justin Kian <justin@jtfoxlaw.com>; Yolanda Nelson
<ynelson@kdeklaw.com>; Stephanie Jones Nojima <sjonesnojima@sandersroberts.com>
Subject: RE: Hidden Empire Holdings v. Angelone



Stephanie is out of the ofﬁce, so I am jumping in here. We will discuss your request with our clients and
get back to you asap. Before we do so, please provide the reasons why George Edwards is stating he
will not be available to testify in this case.

Also, if we are unable to grant your request, we do not understand why Defendants would ﬁle an ex
parte application as opposed to a noticed motion. We would also appreciate you letting us know why
Defendants believe seeking emergency relief would be appropriate under the circumstances.




From: Sandy Calin <scalin@kdeklaw.com>
Sent: Thursday, February 22, 2024 3:04 PM



Subject: Hidden Empire Holdings v. Angelone

     Some people who received this message don't often get email from scalin@kdeklaw.com. Learn why this is important
Hi Stephanie,

As you know we have withdrawn David Sack as an expert. The only expert we now intend to call is the
technology expert from Quandary Peak. Our initial designation listed George Edwards of Quandary
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                                 #:5465
Peak. We have just learned that Mr. Edwards will not be available to testify in this case, and another
expert from Quandary Peak, Rick Watts needs to be used instead. The scope of his testimony will be
the same as that described in our designation, and a copy of Mr. Watts’ CV is attached.

Please let me know whether you will object to our changing our expert to Mr. Watts of Quandary Peak in
place of Mr. Edwards. If you will not agree, we will need to ﬁle an Ex Parte Application asking the Court
to allow the change.

Thank you,
Sandy



 Sandra Calin
 Partner

                           Kramer, deBoer & Keane, LLP

                           21860 Burbank Boulevard, Suite 370, Woodland Hills, CA 91367
                           Tel: (818) 657-0255 | Fax: (818) 657-0256

                           50 California Street, Suite 1500, San Francisco, CA 94111
                           Tel: (415) 933-7855 | Fax: (415) 933-7850

                           Cell: (818) 469-6255 | scalin@kdeklaw.com

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                                 #:5466




    1    DECLARATION OF SANDRA CALIN IN SUPPORT OF DEFENDANTS’
    2
                         EX PARTE APPLICATION

    3        I, Sandra Calin, declare as follows:
    4        1.     I am an attorney at law duly licensed to practice before all courts of the
    5 State of California and am a partner with the law firm of Kramer, deBoer & Keane,

    6 LLP, attorneys of record for Defendants DARRICK ANGELONE, AONE

    7 CREATIVE, LLC and ON CHAIN INNOVATIONS, LLC (“Defendants”) in the
    8 above-captioned case.

    9        2.     I have personal knowledge of the following facts and, if called upon as
   10 a witness, could competently testify thereto, except as to those matters which are
   11 explicitly set forth as based upon my information and belief and, as to such matters, I

   12 am informed and believe that they are true and correct.

   13        3.     On February 19, 2024 I e-mailed Stephanie J. Nojima, Esq., to ask (for
   14 the second time) for an extension of time for Defendants’ expert to produce his
   15 rebuttal report. In a response dated February 20, 2024, Plaintiffs’ counsel granted

   16 Defendants a six-day extension through February 26, 2024. A true and correct copy
   17 of the abovementioned email correspondence beginning February 19, 2024 is attached

   18 hereto as Exhibit “B”.
   19        4.     A six-day extension simply did not provide ample time for Mr. Watts to
   20 provide a complete rebuttal report. Mr. Watts only required one more day to submit

   21 his report. This is evidenced by the fact that a nearly complete draft report was
   22 submitted on February 26, 2024 in support of Defendants’ opposition to Plaintiffs’

   23 “Motion for Order to Show Cause Why Sanctions Should Not Be Imposed Against

   24 Defendants for (1) Violating the Preliminary Injunction [Contempt] and (2) Spoilation
   25 of Evidence” (“Terminating Sanctions Motion”). Further, the sheer length of the

   26 Terminating Sanctions Motion and the reports prepared by Plaintiff’s experts

   27 necessitated the one additional day for Mr. Watts to prepare a rebuttal. Defendants
   28 respectfully request the Court’s indulgence to permit the one-day late filing of Mr.

                                                 13
                                       EX PARTE APPLICATION
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   1 Watts’ final rebuttal report, to allow for all pertinent information to be before the
   2 Court for a full determination of the merits of the Terminating Sanctions Motion.
   3        5.     On February 22, 2022, I reached out to Plaintiffs’ counsel via email to
   4 determine whether Plaintiffs would object to Defendants changing their rebuttal
   5 expert to Mr. Watts of Quandary Peak in place of Mr. Edwards. I included in this
   6 email a copy of Mr. Watts’ CV. I further advised Plaintiffs’ counsel that if they would
   7 so object, Defendants “will need to file an Ex Parte Application asking the Court to
   8 allow the change.” (See Decl. of JT Fox, Exhibit A.) Plaintiffs’ counsel acknowledged
   9 defense counsel’s intent to appear ex parte to make such request, but was vague
  10 regarding whether they would oppose said ex parte application. (id.)
  11        6.     On March 4, 2024, I spoke via telephone with Plaintiffs’ counsel,
  12 Lawrence Hinkle, regarding Plaintiffs’ request for a fourth time extension for
  13 Plaintiffs to submit their responses to written discovery originally propounded by
  14 Defendants on December 19, 2023. This follows three extension requests by Plaintiffs
  15 on January 12, February 8, and February 15, 2024, each of which was granted. I stated
  16 that Defendants were unwilling to grant another discovery extension if Plaintiffs

  17 would not reciprocate with respect to Defendants’ request to designate Mr. Watts as
  18 a rebuttal expert. In response, Plaintiffs’ counsel indicated that Plaintiffs’ request for

  19 an extension regarding the discovery responses and Defendants’ request that Plaintiff
  20 not object to Defendants’ expert designations – are unrelated. He further stated that
  21 Plaintiffs intend to object to Defendants’ expert designations as they believe such
  22 issue impacts and is relevant to the pending Terminating Sanctions Motion. The call
  23 ended without agreement. Following this, Mr. Hinkle sent me an email dated March
  24 4, 2024 which memorialized the details of the foregoing phone call. A true and correct
  25 copy of Plaintiffs’ counsel’s aforementioned email dated March 4, 2024 is attached
  26 hereto as Exhibit “C”. In light of the foregoing, Defendants are left with no choice
  27 but to seek immediate court intervention with respect to their designation of Mr. Watts
  28 as a rebuttal expert.

                                                 14
                                       EX PARTE APPLICATION
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                                 #:5468




    1        7.     Defendants submit that the disclosure of Mr. Watts as a rebuttal expert
    2 was proper and timely. Specifically, Federal Rule of Civil Procedure 26(a)(2)(D)(ii)

    3 provides that, in the time and sequence set by court order or stipulation, a party must

    4 disclose expert testimony “intended solely to contradict or rebut evidence on the same

    5 subject matter identified by another party under Rule 26(a)(2)(B) or (C)”. Here, per

    6 parties’ counsels’ agreement on February 20, 2024, Defendants were granted an

    7 extension through February 26, 2024 to disclose their expert rebuttal and report, as
    8 set forth above. On February 22, 2024, I disclosed via email to Plaintiffs’ counsel that

    9 Defendants would be using Mr. Watts instead of Mr. Edwards as a rebuttal expert,
   10 and sent Plaintiffs’ counsel a copy of Mr. Watts’ CV. (See Decl. of JT Fox, Exhibit
   11 A.)

   12        I certify under penalty of perjury that the foregoing is true and correct.
   13 Executed this 4th day of March, 2024, at Woodland Hills, California.
   14
   15

   16                                         ________________________________
   17
                                              SANDRA CALIN, Declarant

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                                                 15
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                                 #:5469




                          Exhibit B
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                                 #:5470




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[EXTERNAL SENDER]


Hi Sandy-

We believe your initial designation of George Edwards was defective because you did not include a report with that
designation as required by the Federal Rules. However, if Mr. Edwards only intends to present opinions that directly
rebut those contained in Plaintiffs’ initial expert reports we will agree to an extension through and including
February 26, 2024 for his rebuttal report. This extension should be sufficient since Mr. Edwards will need to
complete his work by that date for your opposition to the sanctions motion in any event. We reserve our rights to
move to strike any and all opinions contained in Mr. Edwards’ report that are not in direct rebuttal to opinions
contained in Plaintiffs’ expert reports.

Best,
Stephanie




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From: Sandy Calin <scalin@kdeklaw.com>
Sent: Monday, February 19, 2024 4:29 PM
To: Stephanie Jones Nojima <sjonesnojima@sandersroberts.com>; jt@jtfoxlaw.com;
justin@jtfoxlaw.com
Cc: Lawrence Hinkle <lhinkle@sandersroberts.com>; Yolanda Nelson <ynelson@kdeklaw.com>
Subject: Hidden Empire

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                                 #:5471
Hi Stephanie,

As you know, the rebuttal expert disclosure is due tomorrow, February 20. Our expert at Quandry Peak
Research is preparing a rebuttal report to the report produced in your initial expert designation.
However, because of the detail contained in your expert’s report, and the volume of documents to be
reviewed in preparing the rebuttal report, I am once again asking for an extension of time for our expert
to produce his rebuttal report.

Rule 26(a)(2)(D) clearly provides that the parties may stipulate to extend the time to produce a rebuttal
report. Please let me know whether you will agree. We will be ﬁling an ex parte application regarding
the late designation of David Sack, and if necessary, we can include this issue regarding the rebuttal
report as well.

I will be available all day Tuesday to talk if you would like to discuss this.

Thanks,
Sandy

 Sandra Calin
 Partner

                          Kramer, deBoer & Keane, LLP

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                          Tel: (818) 657-0255 | Fax: (818) 657-0256

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                                 #:5472




                          Exhibit C
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                                 #:5473




Hi Sandy –

I write to memorialize our conversation from this morning. I requested an extension of time for Plaintiffs
to provide responses to Defendants’ written discovery requests. I explained that the hearing on Plaintiffs’
motion for sanctions is set for hearing on March 18th and that the discovery responses do not impact that
motion. I stated that under the circumstances, requiring Plaintiffs to prepare the responses at this point
amounts to “busy work” we’d hope to avoid having to do at this point. This is especially so given that the
motion for sanctions could be dispositive of the entire case. I appreciate that prior extensions have been
granted, but as I mentioned previously, there does not seem to be a point in having Plaintiffs incur the
time and expense preparing the discovery responses until after the Court rules on the motion for
sanctions. I thought we shared that view conceptually, especially in light of the fact that the trial and
discovery cut off dates have been continued.

You stated that you will agree to grant a request for an extension, but only if Plaintiffs agree to not object
to Defendants’ expert designations.

I explained that the two issues – Plaintiffs’ request for an extension regarding the discovery responses
and Defendants’ request that Plaintiff not object to Defendants’ expert designations – are unrelated. I
also stated that Plaintiffs intend to object to Defendants’ expert designations as that issue impacts and is
relevant to the pending motion for sanctions. While you stated the Court is likely to allow Defendants’
designations, please understand that it is an issue Plaintiffs are not prepared to waive under the
circumstances.

We ended the call without an agreement.

Sincerely,
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                                 #:5474




    1                                   PROOF OF SERVICE
    2        I am employed in Los Angeles County, California. I am over the age of 18 and not
      a party to this action; my business address is 556 South Fair Oaks Avenue, No. 444,
    3
      Pasadena, CA 91105. My email address is justin@jtfoxlaw.com
    4
            I certify that on March 4, 2024, I served: DEFENDANTS’ EX PARTE
    5
      APPLICATION FOR (1) AN ORDER ALLOWING DESIGNATION OF AN
    6 ALTERNATE REBUTTAL EXPERT, AND (2) AN ORDER PERMITTING LATE
      FILING OF DEFENDANTS’ EXPERT RICK WATTS’ REBUTTAL REPORT;
    7 DECLARATIONS OF COUNSEL on the following parties or counsel of record as
    8 follows:

    9
        Lawrence Hinkle (Sbn 180551)                           Counsel for Plaintiffs
   10   Stephanie Jones Nojima (Sbn 178453)
   11
        Matthew Barzman (Sbn 309063)
        SANDERS ROBERTS LLP
   12   1055 West 7th Street, Suite 3200
        Los Angeles, CA 90017
   13   E-Mail: lhinkle@sandersroberts.com;
   14   sjonesnojima@sandersroberts.com;
        mbarzman@sandersroberts.com.
   15   Sandra Calin, Esq.                                     Co-Counsel for Defendants
        Jeffrey S. Kramer, Esq.
   16
        KRAMER, DEBOER & KEANE
   17   A Limited Liability Partnership Including
        Professional Corporations
   18   21860 Burbank Boulevard, Suite 370
   19   Woodland Hills, California 91367
        Email: jkramer@kdeklaw.com;
   20   scalin@kdeklaw.com;
   21

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      transmission.
   24
              I declare under penalty of perjury under the laws of the United States of
   25 America and the State of California that the foregoing is true and correct. Executed at Los

   26 Angeles, California on March 4, 2024.
   27                                            _________________________________
   28                                            Justin Kian

                                                    16
                                          EX PARTE APPLICATION
